36 F.3d 1103
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Gregory O. BROWN, Defendant-Appellant.
    No. 94-30019.
    United States Court of Appeals, Ninth Circuit.
    Sept. 6, 1994.
    
      Before:  PREGERSON, CANBY, and BOOCHEVER, Circuit Judges.
    
    ORDER
    
      1
      In light of the government's motion, this matter is remanded to the District Court with directions to enter a judgment of acquittal pursuant to Fed.R.Crim.P. 29.
    
    